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                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



 HU, CHENGJI

                        Plaintiff,

                v.
                                                   Civil Case No.: 1:25-cv-7709
 THE ENTITIES AND INDIVIDUALS
 IDENTIFIED IN ANNEX A



                        Defendants.




                     SEALED COMPLAINT FOR DESIGN PATENT INFRINGEMENT
                                      JURY TRIAL DEMANDED

       Hu, Chengji (“Plaintiff”), by and through undersigned counsel, brings this civil action for
patent infringement against Defendant, and alleges as follows:
       1.     This is an action for patent infringement arising under the patent laws of the United
States, 35 U.S.C. §§ 271, et seq., to enjoin and obtain damages resulting from Defendants’
unauthorized importation for sale, manufacture, use, and offer to sell a hat holder that infringes
United States Design Patent [Redacted] entitled “Hat Rack.”



                                            PARTIES

       1.      Plaintiff, a People’s Republic of China Citizen, is the owner of the Patent-in-Suit

and sells hat holder products protected by the ornamental design of the Patent-in-Suit on online

platforms to U.S. customers. The Patent-in-Suit is attached as Exhibit A.

       2.      Plaintiff has expended substantial time, money, and other resources in producing,
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advertising, and otherwise promoting the products covered by the Patent-in-Suit. Over time,

Plaintiff has invested heavily in the products covered by the Patent-in-Suit.

       3.      Plaintiff’s products protected by the Patent-in-Suit have become widely known

from its distinctive design, and as such, Plaintiff’s products protected by the Patent-in-Suit have

become recognized by consumers as high quality products sourced from Plaintiff. Over time,

Plaintiff’s products protected by the Patent-in-Suit have become popular, resulting in multiple

seller aliases copying the ornamental design of the Patent-in-Suit.

       4.      Plaintiff became aware of multiple sellers on various online platforms who also

started to sell products virtually identical to the claimed Patent-in-Suit. Plaintiff filed this action

to combat these Seller Aliases listed on Annex A who are harming Plaintiff by offering to sell,

selling, and shipping unlicensed products that infringe the Patent-in-Suit. See Exhibit B.

       5.      Plaintiff has not entered a contract with or licensing agreement with Defendants for

the Patent-in-Suit.

       6.      Defendants are anonymous individuals and/or entities who target sales to Illinois

residents by setting up and operating various “storefronts” via online retail websites accepting U.S.

Dollars that target Illinois consumers by selling, offering to sell, and/or shipping products that

infringe the Patent-in-Suit (“Infringing Products”) to the United States, including Illinois.

       7.      Upon information and belief, Defendants reside and operate in the People’s

Republic of China or other foreign jurisdictions with lenient intellectual property enforcement

systems or redistribute products from the same or similar sources in those locations. Aa a result,

Defendants has the capacity to be sued pursuant to Federal Rule of Civil Procedure 17(b).

       8.      Upon information and belief, Defendants either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Annex A. Tactics used by Defendants

to conceal their identity and the full scope of their operations make it virtually impossible for
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Plaintiff to learn Defendants’ true identity and the scope of their infringing network operations.

        9.      At present, Defendants can only be identified through their storefronts and other

limited publicly available information. No credible information regarding Defendants’ physical

addresses is provided. Plaintiff will voluntarily amend its Complaint as needed if Defendants

provide additional credible information regarding their identity and location.



                             DEFENDANTS’ INFRINGING CONDUCT

        10.     According to FY 2024 Intellectual Property Right Seizure Statistics report by U.S.

Customs and Border Protection (“CBP”), seizures from China and Hong Kong accounted for

approximately 90% of the total quantity seized. Exhibit C, FY 2024 Intellectual Property Right

Seizure Statistics report.

        11.     Third party online platforms do not adequately subject sellers to verification and

confirmation of their identities and products, allowing infringers to “routinely use false or

inaccurate names and addresses when registering with these e-commerce platforms.” Exhibit D,

Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the Internet, 40 NW. J.

INT’L L. & BUS. 157, 186 (2020). “At least some e-commerce platforms, little identifying

information is necessary for [an infringer] to begin selling” and recommending that “[s]ignificantly

enhanced vetting of third-party sellers” is necessary.” Exhibit E, Combating Trafficking in

Counterfeit and Pirated Goods prepared by the U.S. Department of Homeland Security’s Office

of Strategy, Policy, and Plans. Because these online platforms generally do not require a seller to

identify the underlying business entity, infringers can have many different profiles that can appear

unrelated even though they are commonly owned and operated. Id. at 39.

        12.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete
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information to e-commerce platforms to prevent discovery of their true identities and the scope of

their interconnected e-commerce operations.

       13.     The e-commerce stores operating under the Seller Aliases appear sophisticated and

accepts payment in U.S. dollars via credit cards, Alipay, Amazon Pay, and/or PayPal. As seen by

the webpages in Exhibit B, the e-commerce stores operating under the Seller Aliases include

content and images that make it very difficult for consumers to distinguish such stores from an

authorized retailer of Plaintiff’s Patent-in-Suit products.

       14.     E-commerce store operators like Defendants regularly register new seller aliases

for the purpose of offering for sale and selling Infringing Products. Such seller alias registration

patterns are one of many common tactics used by e-commerce store operators like Defendants to

conceal their identities and the scope of their infringing operations. Such tactics help Defendants

avoid being shut down. Even after being shut down through enforcement efforts, such e-commerce

store operators may conveniently register another storefront under another seller alias and continue

to sell the Infringing Products.

       15.     Defendants use different fake names and payment accounts to keep selling despite

Plaintiff’s actions. They also have bank accounts outside this Court’s reach and may move money

there to avoid paying any monetary judgment to Plaintiff. In fact, financial records from similar

cases show that off-shore sellers frequently transfer money from U.S. accounts to foreign ones on

a regular basis to avoid paying any judgment ordered by a court of law.

       16.     Upon information and belief, Defendants are in communication with one another

via chat rooms such as WeChat and regularly participate in other websites that provide litigation

specific content to warn anonymous seller aliases of upcoming lawsuits against their respective

product listings.
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        17.    Even though Defendants operate under multiple fictitious Seller Aliases, the e-

commerce stores operating under the Seller Aliases often share unique identifiers, such as

templates with common design elements that intentionally omit any contact information, the same

registration   patterns,   the   same    accepted    payment     methods,     the    same     check-

out methods, the same keywords and titles, the same product descriptions, the same advertising

tactics, similarities in pricing and quantities, the same incorrect grammar and misspellings, and the

same product and advertising images and videos.

        18.    Defendant’s Infringing Products also contain similar flaws and irregularities

evidencing that the Infringing Products were manufactured by and come from a common source

and that Defendants are interrelated.

        19.    Upon information and belief, Defendants receive or purchase the Infringing

Products from one or more major manufacturers in China. The identities of the major

manufacturers remain unknown to Plaintiff.

        20.    Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Infringing Products in the same transaction, occurrence,

or series of transactions or occurrences. As seen in Exhibit B, the e-commerce stores operating

under the Seller Aliases offer shipping to the United States, including Illinois, and, upon

information and belief, Defendants have all sold and shipped Infringing Products into Illinois. As

seen in Exhibit B, most Defendants have recently sold and shipped Infringing Products into

Illinois.
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                                  JURISDICTION AND VENUE

        21.     This is an action for infringement of the Patent-in-Suit arising under 35 U.S.C. §§

271(a), 281, and 284 - 85. This Court has original subject matter jurisdiction over this claim under

28 U.S.C. §1331 and §1338.

        22.     Personal jurisdiction is proper because Defendants directly target consumers in the

United States, including in Illinois, through at least the fully interactive commercial Internet stores

operating under the Seller Aliases, where Defendants offer to sell, and upon information and belief,

sell and ship Infringing Products to residents within the Northern District of Illinois. Thus, each

Defendant has purposefully availed themselves of the privilege of conducting business in the

forum state or purposefully directed their patent infringement activities at the state; Plaintiff’s

injuries stems from the Defendants’ forum-related activities of offering to sell, selling, and

shipping Infringing Products to the forum-state; and the exercise of personal jurisdiction comports

with traditional notions of fair play and substantial justice. As a result, Defendants are committing

tortious acts in Illinois, are engaging in interstate commerce, and have wrongfully caused Plaintiff

substantial injury in Illinois.

        23.     In addition, after service of summons, personal jurisdiction is proper pursuant to

Federal Rule of Civil Procedure 4(k)(2), where “a claim that arises under federal law, serving a

summons or filing a waiver of service establishes personal jurisdiction over a defendant if: (A) the

defendant is not subject to jurisdiction in any state's courts of general jurisdiction; and (B)

exercising jurisdiction is consistent with the United States Constitution and laws.” Based on

information found on Defendant’s Infringing Product listings and based on the Seller Aliases, each

of the Defendants is a foreign entity or individual not subject to any state’s courts general

jurisdiction, and exercising jurisdiction is consistent with the United States Constitution and laws.
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        24.    Venue in the Northern District of Illinois is proper pursuant to 28 U.S.C. § 1391

because a substantial part of the events that give rise to the claim occur within this District,

Defendants have committed acts of infringement in and have significant contacts within this

District, and Defendants as delineated in Annex A are directly targeting their business activities of

offering to sell, selling, and shipping the Infringing Products to this District.

        25.    In addition, based on information found on Defendants’ Infringing Product listings

and based on the Seller Aliases, each of the Defendants is a foreign entity or individual, and “a

defendant not resident in the United States may be sued in any judicial district.” 28 U.S.C. §

1391(c)(3).



                                U.S. PATENT NO. [Redacted]

        26.    On July 23, 2024, United States Design Patent No. [Redacted] was duly and

legally issued by the United States Patent and Trademark Office for an invention entitled “hat

rack” The Patent-in-Suit has a filing date of August 31, 2002. A true and correct copy of the

Patent-in-Suit is attached hereto as Exhibit A.

        27.    Plaintiff is the owner of the Patent-in-Suit.

        28.    Plaintiff sells products that include the ornamental design protected by the Patent-

in-Suit. The Patent-in-Suit includes the ornamental design below, specifically protecting the hat

rack.

  Patent Number                         Claimed Design                              Issue Date
  [REDACTED]                            The ornamental                              07/23/2024
                                       design for hat rack
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                                   COUNT I
                  INFRINGEMENT OF U.S. DESIGN PATENT [Redacted]

       29.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       30.     Defendants, directly or through intermediaries, offer to sell, sell, and ship products

which infringe the ornamental design of the Patent-in-Suit. See Exhibit B.

       31.     Defendants are making, using, offering for sale, selling, and/or importing into the

United States, and Illinois, for subsequent sale or use, Infringing Products that infringe directly

and/or indirectly infringe the ornamental design of the Patent-in-Suit. See Exhibit B.

       32.     Defendants are directly infringing, literally infringing, and/or infringing the Patent-

in-Suit under the doctrine of equivalents. See Exhibit B.

       33.     Defendants’ offering for sale, sales, and shipments of Infringing Products has

caused and continues to cause Plaintiff to suffer irreparable harm through loss of Plaintiff’s

exclusive patent rights.

       34.     Defendants’ offering for sale, sales, and shipments of Infringing Products into the

United States was willful in nature.



                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter:

1.     a judgment in favor of Plaintiff that Defendants have infringed the Patent-in-Suit;

2.     a temporary, preliminary, and permanent injunction enjoining Defendants and their

officers, agents, servants, employees, attorneys, and all persons acting for, with, by, through,

under, or in active concert with them from infringement of, inducing the infringement of, or
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contributing to the infringement of the Patent-in-Suit, or such other equitable relief the Court

determines is warranted;

3.     a judgment and order requiring Defendants pay to Plaintiff their total profit, including

damages, costs, expenses, and prejudgment and post-judgment interest for Defendants’

infringement of the Patent-in-Suit as provided under 35 U.S.C. § 289, and an accounting of

ongoing post-judgment infringement;

4.     a judgment and order requiring Defendants pay to Plaintiff a reasonable royalty for

Defendants’ infringement of the Patent-in-Suit, together with interest and costs, and that such

amount found or assessed be increased three times as provided under 35 U.S.C. § 284;

5.     a determination that this is an exceptional case within the meaning of 35 U.S.C. § 285 and

award to Plaintiff the costs, expenses, and reasonable attorneys’ fees incurred in this action;

6.     that, upon Plaintiff’s request, all in privity with Defendants and with notice of the

Injunctive relief, including but not limited to any online marketplace platforms, such as Alibaba,

Ali Express, Amazon, DH Gate, eBay, Newegg, Shopify, Wish, and vendors of sponsored search

terms or online ad-word providers, financial services providers, including but not limited to credit

card providers, banks, merchant account providers, third party payment processors, web hosts, and

Internet search engines, such as Google, Bing, and Yahoo shall:

       a. cease providing services to Defendants, currently or in the future, to sell or offer for sale

goods under the Patent-in-Suit;

       b. cease displaying any advertisements in any form, connected or associated with

Defendants in connection with the sale of infringing goods under the Patent-in-Suit; and

       c. disable all links to the marketplace accounts identified on Annex A from displaying in

search results, including from any search index; and
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7.      any and all other relief that this Court deems just and proper.




                                  DEMAND FOR JURY TRIAL

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.



DATED July 9 , 2025                                   Respectfully submitted,

                                                      /s/ Kaibin Huang, esq
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                                                      ATTORNEY FOR PLAINTIFF
